     Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 1 of 30




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                            )
PETER P. STRZOK,                            )
                                            )
                Plaintiff,                  )
                                           )    Civil Action No. 19-2367 (ABJ)
        v.                                  )
                                            )
ATTORNEY GENERAL MERRICK B.                 )
GARLAND, in his official capacity, et al.,  )
                                            )
                Defendants.                 )
                                            )
                                            )
                                            )
LISA PAGE,                                  )
                                            )
                Plaintiff,                  )
                                            )   Civil Action No. 19-3675 (TSC)
        v.                                  )
                                            )
U.S. DEPARTMENT OF JUSTICE, et al.,         )
                                            )
                Defendants.                 )
                                            )
                                            )
                                           )
ATTORNEY GENERAL MERRICK                   )
GARLAND, in his official capacity, UNITED  )
STATES DEPARTMENT OF JUSTICE, FBI          )
DIRECTOR CHRISTOPHER A. WRAY, in his )
official capacity, FEDERAL BUREAU OF       )
INVESTIGATION,                             )
                                           )
                            Movants,       )
                        v.                 )    Case No.: 1:22-mc-27 (ABJ)
                                           )
PETER P. STRZOK                            )
                                           )
IN RE SUBPOENA SERVED ON                   )
DONALD J. TRUMP                            )
                                           )
       Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 2 of 30




         DECLARATION OF BRADLEY P. HUMPHREYS IN SUPPORT OF
          DEFENDANTS’ MOTION FOR RECONSIDERATION OF ORDER
        DENYING IN PART DEFENDANTS’ MOTION TO QUASH SUBPOENA
              FOR DEPOSITION OF FORMER PRESIDENT TRUMP

       I, Bradley P. Humphreys, make the following declaration pursuant to 28 U.S.C. § 1746,

and state that under penalty of perjury the following is true and correct to the best of my knowledge

and belief:

       1.      I am a Senior Trial Counsel with the Federal Programs Branch of the Civil Division

of the United States Department of Justice and counsel for Defendants in these matters.

       2.      Attached as Exhibit A is a true and correct copy of the rough transcript of the June

27, 2023 deposition of FBI Director Christopher Wray.

       3.      Attached as Exhibit B is a true and correct copy of an April 20, 2018 Vox article

titled “Exclusive: Trump pressed Sessions to fire 2 FBI officials who sent anti-Trump text

messages.”

       4.      Attached as Exhibit C is a true and correct copy of a declaration executed on May

12, 2023 by former White House Chief of Staff General John Kelly. On information and belief,

counsel for Mr. Strzok obtained the attached declaration from General Kelly in lieu of noticing his

deposition.

       5.      Attached as Exhibit D is a true and correct copy of a subpoena for production of

documents issued by Christopher R. MacColl, counsel for Peter P. Strzok, on February 10, 2023.

       6.      Attached as Exhibit E is a true and correct copy of the transcript of the May 19,

2023 reopened deposition of former Associate Deputy Attorney General Scott Schools.

       Executed this 5th day of July, 2023.



                                                      /s/ Bradley P. Humphreys
                                                      Bradley P. Humphreys
 Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 3 of 30




Peter P. Strzok v. Attorney General Merrick B. Garland, in his official capacity, et al.
                           Civil Action No. 19-2367 (ABJ)




                               Exhibit A

              FILED UNDER SEAL
 Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 4 of 30




Peter P. Strzok v. Attorney General Merrick B. Garland, in his official capacity, et al.
                           Civil Action No. 19-2367 (ABJ)




                               Exhibit B
6/8/f2, 10:21 AM
                   Case 1:19-cv-02367-ABJ          Document 115-1 Filed 07/05/23 Page 5 of 30
                                 Exclusive: Trump pressed Sessions to fire 2 FBI officials who sent anti-Trump text messages Vox
                                                                                                                           -




    Exclusive: Trump pressed Sessions to fire 2 FBI officials
    who sent anti-Trump text messages
   Trump also asked Attorney General Sessions and FBI Director Wray to find derogatory
    information on the officials, Peter Strzok and Lisa Page.
    By Murray Weas     IApr 20,2018, 9:20am EDT




                                                                                                                  Exhibit
                                                                                                                    19

  Kevin Dietsch-Pool/Gey I
                         rnages




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                                 Exclusive: Trump pressed Sessions to115-1        Filedwho
                                                                      fire 2 FBI officials 07/05/23       Page
                                                                                            sent anti-Trump         6 of 30
                                                                                                            text messages
                                                                                                                        - Vox

    $ On June 8, 2022,3:30 to 4:15 pm (ET), join Vox staffers Umair Irfan and Ned
   Dhanesha, and Rebecca Leber for aTwitter Spaces chat about their reporting on potential
   solutions to the climate crisis. RSVP Here.




   President Donald Trump sharply questioned Attorney General Jeff Sessions and FBI
   Director Christopher Wray during aWhite House meeting on January 22 about why two
   senior FBI officials          -   Peter Strzok and Lisa Page             -   were still in their jobs despite
   allegations made by allies of the president that they had been disloyal to him and had
   unfairly targeted him and his administration, according to two people with knowledge of
   the matter.

   The president also pressed his attorney general and FBI director to work more aggressively
   to uncover derogatory information within the FBI's files to turn over to congressional
    Republicans working to discredit the two FBI officials, according to the same sources.


   The very next day, Trump met Sessions again, this time without Wray present, and even
    more aggressively advocated that Strzok and Page be fired, the sources said.


   Trump's efforts to discredit Strzok and Page came after Trump was advised last summer
    by his then-criminal defense attorney John Dowd that Page was alikely witness against
    him in special counsel Robert Mueller's investigation into whether Trump obstructed
   justice, according to two senior administration officials. That Trump knew that Page might
    be apotential witness against him has not been previously reported or publicly known.


    The effort to discredit Strzok and Page has been part of abroader effort by Trump and his
    allies to discredit and even fire FBI officials who they believe will be damaging witnesses
    against the president in Mueller's obstruction of justice probe.


    Those attacks, in turn, are part of abroader push to denigrate Mueller himself and make it
    easier for Trump to publicly justify his potential firing. Those efforts have taken on new
    urgency as Mueller continues to rack up guilty pleas from former senior Trump officials like
    Michael Flynn and Rick Gates, and after the FBI, in conjunction with other federal
    prosecutors, raided the office, home, and hotel room of Michael Cohen, Trump's
    longtime lawyer. Trump's fury over the raid has made many of his closest advisers worry
    that he's inching closer to firing Deputy Attorney General Rod Rosenstein, who oversees
    the Mueller probe, and possibly Mueller as well.

                                                                                                                                2/10



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                                 Exclusive: Trump pressed Sessions to115-1         Filedwho07/05/23
                                                                      fire 2 FBI officials                Page
                                                                                            sent anti-Trump         7 of 30
                                                                                                            text messages
                                                                                                                        - Vox

   Last May, Trump fired James Comey as FBI director, who today appears to be the special
   counsel's most crucial witness against the president. Trump also enlisted his attorney
   general to pressure current FBI Director Wray earlier this year to fire then-FBI Deputy
    Director Andrew McCabe. Wray thought the pressure was so improper that he threatened
   to resign if it did not end.

   Trump's efforts against Page and Strzok demonstrate that the president personally has
   targeted even midlevel officials and career FBI agents.

   Why Strzok and Page became the focus of right-wing anger

   Strzok was formerly the FBI's deputy assistant director of the counterintelligence division,
   and Page was asenior FBI attorney.

   Strzok helped oversee two of the FBI's most politically contentious investigations: the
    probe of Hillary Clinton's use of aprivate email server and aprivate email account while she
   was secretary of state; and an investigation into whether campaign aides to Donald Trump
   colluded with Russia to interfere with the 2016 presidential election. As general counsel to
    then-Deputy FBI Director McCabe, Page provided legal and strategic advice about both
    investigations to both Comey and McCabe.


    For abrief period, Strzok served as the lead FBI agent for the special counsel, and Page as
    an attorney also worked for Mueller. The two came under scrutiny by four separate
    Republican congressional committees after text messages between the two of them
    surfaced last December in which both had made derogatory comments about Trump just
    prior to and after the 2016 election. Strzok and Page worked closely together and were
    engaged in an extramarital affair at the time.

    Page and Strzok repeatedly disparaged Trump in their private messages to each other.
    Right after Trump's surprise electoral victory, Strzok texted Page: "0MG Iam so
    depressed." Page replied: "I don't know if Ican eat. Iam very nauseous."


    But areview of thousands of the texts sent between the two FBI officials shows that
    they also severely criticized both Sen. Bernie Sanders and Hillary Clinton, and talked bluntly
    and critically of colleagues and others. No evidence has come to light to substantiate
    allegations that the FBI's investigations were politicized to either protect Clinton or
    persecute Trump. In fact, Strzok was reassigned from Mueller's team when the
    derogatory text messages were discovered by his bosses (Page reportedly had left
    Mueller's team earlier). Through their attorneys, Strzok, Page, and McCabe declined to

    comment.
                                                                                                                                3/10



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                                                                      fire 2 FBI officials                Page
                                                                                            sent anti-Trump         8 of 30
                                                                                                            text messages
                                                                                                                        - Vox




   Nevertheless, Trump and his allies have attempted to paint Mueller as untrustworthy and
    biased because both Strzok and Page briefly worked for him. And they have pushed the
    narrative that acabal of FBI officials                -   which at times has included Comey, McCabe, Page,
   and Strzok, among others                 -   are out to get the president.

    "There was abrazen plot to illegally exonerate Hillary Clinton, and if she didn't win the
   election, to then frame Donald Trump with afalsely created crime," veteran Washington
   attorney Joseph diGenova, whom Trump recently considered having join his legal defense,
   told Fox News in January. "Make no mistake about it: A group of FBI and DOJ people were
   trying to frame Donald Trump of afalsely created crime."

   The missing text messages

   The narrative of a"deep state" conspiracy against the White House by government
    workers has at times centered on some missing text messages between Strzok and Page
    -   text messages that, according to critics of the Mueller investigation, were allegedly
    deleted by the FBI to cover up aplot to undermine Trump.


    During the January 22 meeting with Sessions and Wray, the president parroted that
    narrative, complaining about asignificant gap of several months in Page and Strzok's text
    messages and suggesting that the FBI was covering them up, according to the two
    government officials familiar with the meeting.


    The FBI declined to comment for this article, refusing to confirm that Wray met with the
    president or attorney general on January 22: "There is no public schedule for the director,"
    FBI spokesperson Andrew Ames said in an email. Regarding other details, Ames said, "We
    have no comment on the remainder of your questions." A spokesperson for the
    Department of Justice said, "We don't comment on conversations with the president."


    Trump's meeting with Sessions and Wray occurred one day after areport in the
    Washington Post, in which Sen. Ron Johnson (R-WI), the chair of the Senate Homeland

    Security and Governmental Affairs Committee, had written Wray complaining that the FBI
    "did not preserve text messages between Ms. Page and Mr. Strzok" during afive-month
    period that was crucial to investigators.

    After the White House meeting on January 22, the attorney general was immediately
    responsive. In astatement made public that same day, Sessions vowed, "We will leave no
    stone unturned to confirm with certainty why these text messages are not now available
    to be oroduced and will use every technolov available to determine whether the missing
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                                                                                                           text messages
                                                                                                                       - Vox
                                                                                         ................-- ....- .....




   messages are recoverable from another source."




   Win McNarnee/Getty Images




   The next morning, Trump ratcheted up the pressure, tweeting: "in one of the biggest
   stories in along time, the FBI says it is now missing five months worth of lovers Strzok                                    -




    Page texts, perhaps 50,000, all in prime time. Wow!"


    But within aweek, the Justice Department's inspector general was able to recover and
   turn over the missing text messages to Congress. It turned out the FBI had been unable to
    recover texts from thousands of its agents, not just Strzok and Page, when it upgraded its
   Samsung Galaxy phones.

   Trump viewed Page as apotential witness against him

   The event at the center of the special counsel's obstruction of justice investigation is the
    now-famous account by Comey that President Trump had pressured him, in aone-on-one
    meeting in February 2017, to shut down the FBI's criminal investigation into whether former
    National Security Adviser Michael Flynn had lied to the FBI about his contacts with

    Russian officials.

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                                                                                             sent anti-Trump        10 of 30
                                                                                                             text messages
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   When Comey refused to shut down the Flynn investigation and turned down other
    requests from Trump regarding the Russia probe, Trump fired Comey. That, in turn, led to
   the appointment of Mueller as special counsel to investigate possible collusion between
   Trump campaign aides and Russia to interfere with the 2016 presidential election. Mueller


   almost immediately expanded his investigation into whether Trump also obstructed
   J
   ustice.


   Trump and his allies have expressed their belief that it would be difficult to bring any
    obstruction of justice case against the president because the allegations would boil down
    to the word of one person                -   Comey     -   versus that of another, the president of the United
    States. Trump has relentlessly attacked Comey, hoping to raise doubts about the
    former FBI director's credibility.


    As Vox's Zack Beauchamp has written, Mueller could seek permission to indict and
    prosecute Trump if he feels he has enough evidence of apotential crime. But it's not clear
    that charges can actually be brought against asitting president, though Mueller's findings
    could nevertheless be turned over to Congress and serve as the centerpiece of any
    impeachment proceedings against Trump.


    Last June, Ifirst reported at Vox that Comey regularly confided in three of the FBI's most
    senior managers about his troubling interactions with Trump regarding the Russia probe,
    including the Oval Office meeting during which Trump asked Comey to shut down the FBI's
    investigation of Flynn. Among those Comey said he confided in were Andrew McCabe; Jim
    Rybicki, then Comey's chief of staff; and James Baker, then the FBI's general counsel.


    One quote in afollow-up story particularly distressed the president's then-private
    attorney, John Dowd, and other advisers to the president, according to asenior
    administration official. "What you are going to have is the potential for apowerful
    obstruction case," asenior law enforcement official told me at the time. "You are going to
    have the [former] FBI director testify, and then the acting director, the chief of staff to the
    FBI director, the FBI's general counsel, and then others, one right after another. This has
    never been the word of Trump against what [James Comey] has had to say. This is more
    like the Federal Bureau of Investigation versus Donald Trump."


    In subsequent testimony to the Senate Intelligence Committee, Comey confirmed that he
    regularly confided in McCabe, Rybicki, and Baker but also briefly noted that he sometimes
    invited other less senior FBI officials to meetings on the topic of his encounters with
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                              Exclusive: Trump pressed Sessions to fire 2 FBI officials who sent anti-Trump text messages Vox
                                                                                                                        -




   Trump.

    One person Comey identified was "the deputy director's chief counsel." This was an
   apparent reference to Lisa Page. No press reports then or since identified her as a
    potential witness against Trump before this story                       -   even as the president, his political

   allies, and Republican-controlled investigative committees on Capitol Hill relentlessly
    attacked her.

    But the reference caught Dowd's attention. After doing some research, Dowd concluded

    that Page might be adangerous witness against the president, according to asenior
    administration official, because she may have attended meetings with Comey and other
    senior FBI managers during which Comey discussed his troublesome contacts with the
    president      -   perhaps even the meeting during which Trump allegedly ordered Comey to
    shut down the Flynn investigation. Moreover, as chief counsel to McCabe, Page might have
    been privy to information McCabe had about similar matters.


    As first reported by Foreign Policy in late January, President Trump approved aplan to
    carry out acampaign to discredit senior FBI officials after Dowd warned him that they
    were all almost certainly going to provide damaging testimony that might implicate him in
    an obstruction of justice case. According to the source, one of the officials specifically
    targeted was Page.

    The relentless Republican assault on the FBI




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                             Exclusive: Trump pressed Sessions to fire 2 FBI officials who sent anti-Trump text messages Vox
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   Mark Wilson/Getty Images




   McCabe, as deputy director, was perhaps the most serious threat as awitness against
   Trump, beyond Comey. Sure enough, Trump turned his sights to McCabe in recent
   months.

   According to an Axios report in January, Wray had threatened to resign as FBI director
   after Sessions, acting on Trump's orders, pressured him to fire McCabe. Wray told
   Sessions that he had no cause or legal justification to fire McCabe. Sessions ultimately
   fired McCabe in March.


   In light of those events, asenior federal law enforcement official told me that he was
   surprised Wray did not take more seriously the president's discussion with him regarding
   Page. "A president ordinarily doesn't care about personnel and staffing decisions at the
   FBI. One had to at least consider this as afurtherance of an obstruction," the person said.


   What's been lost in the fog of conspiracy theorizing around the Mueller probe is the fact
   that virtually all of the FBI's most senior managers supported Comey's decision to
   announce the reopening of the investigation into Hillary Clinton's emails 11 days before the
   election       -   an announcement that arguably helped Donald Trump pull off his victory.


   Even as that investigation received blanket coverage, the public knew nothing at all about
   the FBI investigation into Trump's top campaign officials for colluding to interfere with the
   presidential election to help Trump.

   "Look, if there was some conspiracy by Jim Comey, Andy McCabe, Lisa Page, Peter Strzok,
   the FBI, the deep state, whatever you want to imagine," asenior federal law enforcement
   official told me, "the plain fact is that if someone at FBI wanted to tip the election, they
   would have leaked the existence of that investigation to the New York Times. But nobody
   said aword, and nobody did because that is the way things really work."


   The right's assault on the institutional reputation of the FBI has been politically successful.
   A Reuters/Ipsos poll in January found that nearly 73 percent of Republicans think that
    "members of the FBI and Department of Justice are working to delegitimize Trump
   through politically motivated investigations."
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                                                                                            sent anti-Trump        13 of 30
                                                                                                            text messages
                                                                                                                        - Vox



   In the meantime, the congressional investigations of the FBI have taken atoll on the law
   enforcement agency's investigative capabilities.




   On March 18, Wray released astatement saying that even though the FBI had already
   "dedicated 27 FBI staff to review records" to the House Judiciary Committee about Comey,
   McCabe, Page, Strzok, and other FBI officials, the FBI was now "doubling" its efforts. There
   would now be no less than 54 FBI staff members who would work "two shifts per day from
   8am. to midnight to expedite completion of this project."


   The number is apparently greater than the number of FBI agents working full time for
   Robert Mueller.

   Murray Waas is an independent Jo urnalist who is aformer investigations editor for Vice,
   aformer investigative reporter for Reuters, and aformer senior correspondent for
   National Journal. He has written about the Mueller investigation for both Vox and Foreign
   Policy, and has written for the New Yorker, the Atlantic, the New York Times, and the
   Boston Globe.




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    Putin's war on Ukraine, explained

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              Case 1:19-cv-02367-ABJ
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Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 15 of 30




Peter P. Strzok v. Attorney General Merrick B. Garland, in his official capacity, et al.
                           Civil Action No. 19-2367 (ABJ)




                               Exhibit C
Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 16 of 30
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Peter P. Strzok v. Attorney General Merrick B. Garland, in his official capacity, et al.
                           Civil Action No. 19-2367 (ABJ)




                               Exhibit D
                   Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 23 of 30
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                District of Columbia
                         Peter P. Strzok
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:19-cv-2367
                                                                              )
         Attorney General Merrick Garland et al.
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                         Gen. John Francis Kelly (Ret.),
                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attachment A



 Place: Zuckerman Spaeder LLP                                                           Date and Time:
          1800 M. St. NW Suite 1000
          Washington, DC 20036                                                                               03/01/2023 5:00 pm

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        02/10/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                               /s/ Christopehr R. MacColl
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)   Peter P. Strzok
                                                                        , who issues or requests this subpoena, are:
those identified by the signature block in Exhibit A

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                   Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 24 of 30
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:19-cv-2367

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                    Case 1:19-cv-02367-ABJ Document 115-1 Filed 07/05/23 Page 25 of 30
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                     )
PETER P. STRZOK,                                     )
                                                     )
                               Plaintiff,            )
                                                     )
                        v.                           )       Case No. 1:19-CV-02367-ABJ
                                                     )
Merrick Garland, in his official capacity            )
as Attorney General of the United States, et al.,    )
                                                     )
                               Defendants.           )
                                                     )


            PLAINTIFF STRZOK’S THIRD PARTY SUBPOENA DUCES TECUM

                                        ATTACHMENT A

       Plaintiff Peter P. Strzok, through his counsel and pursuant to Federal Rules of Civil

Procedure 26 and 45, hereby requests that You produce each and every document in Your

possession, custody, or control that is responsive to the below Requests by March 1, 2023 or within

fourteen (14) days of service, whichever is later.

                                            DEFINITIONS

       1.        “You” or “Your” refers to Retired General and former White House Chief of Staff

John F. Kelly.

       2.        All other terms have their regular and ordinary meaning. Should you have any

doubt as to the meaning of any Request or the scope of the required search or production, please

contact us right away, and we will be pleased to discuss that matter.

                                            INSTRUCTIONS

       1.        You are to respond to the following Requests and produce responsive materials
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within your possession, custody, or control in accordance with, and as required by, the Federal

Rules of Civil Procedure. Production of responsive materials should be made by the later of

fourteen (14) days after service of the subpoena or March 1, 2023.

       2.      Documents in your possession, custody, or control include documents in the

possession of your agents, representatives, or attorneys.

       3.      To the extent Your search for responsive documents is restricted in any way, please

describe the restrictions, and explain why they did not result in responsive materials not being

produced.

       4.      The fact that a Request provides certain examples of responsive Documents that

You must produce does not change the fact that other kinds of Documents may also be responsive,

which You must also produce in response to that request.

       5.      Please produce all available metadata for each electronic document you produce.

       6.      Documents withheld from production or redacted on the basis of attorney-client

privilege, work product protection, or any other privilege or protection shall be logged. The

privilege log must include an entry for each document in chronological order, setting forth as to

each the following: (a) document type; (b) document date; (c) the document name or subject line;

(d) for a communication: the sender, addressee, and each other recipient; (e) the custodian from

whom the document was collected; (f) each privilege or immunity claimed; (g) a description of

each the withheld Document or redacted material that is sufficiently descriptive to allow Plaintiff

to assess Your privilege claim.

       7.      Please produce documents in their complete, unredacted form.

       8.      Please produce Documents not otherwise responsive to a request if they are

attached to, enclosed with, or attach any Document that is responsive to a Request (e.g., please


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produce a parent email that attaches a responsive document, or a sibling attachment sent by email

with a responsive document).

       9.      If more than one copy of a requested document (e.g., a clean copy and a copy with

handwritten or other notations) exists, please produce all copies.

       10.     Each Request shall be deemed continuing so as to require supplemental responses

if You obtain or discover additional Documents after the date of Your initial production.

       11.     Unless otherwise stated, the Relevant Period is January 1, 2016 through the present.

Please produce all documents drafted, created, modified, saved, sent, or received during the

Relevant Period to the extent they are responsive to one or more of the Requests.

                                    SUBPOENA REQUESTS

       Pursuant to Plaintiff’s duly served subpoena duces tecum, we respectfully demand that You

produce:

       1.      All communications and documents reflecting or concerning any discussion among

any of You, former President Donald J. Trump, former White House Counsel Donald McGahn,

Ty Cobb, former Attorney General Jeffery Sessions, former Deputy Attorney General Rod

Rosenstein, FBI Director Christopher Wray, former FBI Associate Deputy Director (and later)

Deputy Director David Bowdich, former Associate Deputy Attorney General Scott Schools, or

former DOJ Spokesperson Sarah Isgur, that concern or refer to text messages exchanged between

Peter P. Strzok and Lisa Page, Mr. Strzok and Ms. Page’s personal relationship, or Mr. Strzok or

Ms. Page’s FBI employment.

       2.      All documents concerning or reflecting any wishes, desires, contemplations, plans,

or efforts by any of the persons identified by Request No. 1 for any official action against Peter P.

Strzok or Lisa Page by any agency or apparatus of the United States Government, including but


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not limited to: termination of Mr. Strzok or Ms. Page’s employment at the FBI; an investigation

into Mr. Strzok or Ms. Page by the DOJ or FBI; an audit of Mr. Strzok or Ms. Page’s tax returns

by the IRS; or any action related to their security clearance or potential security clearance.

       3.      All other documents that concern or reflect any disclosure, or potential disclosure,

of information related to Peter P. Strzok or Lisa Page to any member of the press between October

1, 2017 and October 1, 2018.


Dated: February 10, 2023                              Respectfully Served,

                                                      /s/ Christopher R. MacColl
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                                                      Christopher R. MacColl (DC Bar 1049153)
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Peter P. Strzok v. Attorney General Merrick B. Garland, in his official capacity, et al.
                           Civil Action No. 19-2367 (ABJ)




                               Exhibit E

              FILED UNDER SEAL
